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 1 BRUCE LOCKE
   Moss & Locke
 2 555 University Avenue, Ste 150
   Sacramento, California 95825
 3
   Attorney for Defendant
 4 DONALD EDGECOMB

 5
 6
                           IN THE UNITED STATES DISTRICT COURT
 7
                               EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA                      §
10                                                 §
   V.                                              §       CRIMINAL NO. S-06-200 MCE
11                                                 §
   DONALD EDGECOMB,                                §       ORDER TO FURNISH TRAVEL
12                                                 §       FOR STATUS CONFERENCE ON
                                                   §       OCTOBER 23, 2008 AT 9:00 A.M.
13                                                 §
   _____________________________________
14
   TO: UNITED STATES MARSHAL
15
          This is to authorize and direct you to furnish the above-named DONALD EDGECOMB, with
16
   transportation from Milwaukee, Wisconsin to the place of his hearing for a status conference in
17
   Sacramento, California on October 23, 2008 at 9:00 a.m. It will be necessary for DONALD
18
   EDGECOMB to arrive in Sacramento, California on October 22, 2008, to make his appearance in
19
   court on October 23, 2008. DONALD EDGECOMB is financially unable to be in Sacramento on
20
   this date without transportation expenses being provided by the Government. DONALD
21
   EDGECOMB will also need transportation to Milwaukee, Wisconsin, the place of his bonafide
22
   residence, on October 23, 2008. This is authorized pursuant to 18 U.S.C. § 4285.
23
24   Dated: October 20, 2008

25                                             ________________________________
                                               MORRISON C. ENGLAND, JR.
26                                             UNITED STATES DISTRICT JUDGE
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